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            EXHIBIT D
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Staff Guidance –Award Assessments for Alignment with Agency Priorities - March
2025
Background

This staff guidance rescinds the guidance provided in the February 13, 2025, memo to IC Chief
Grants Management Officers entitled Supplemental Guidance – NIH Review of Agency Priorities
Based on the New Administration’s Goals. In accordance with the Secretarial Directive on DEI
Related Funding (Appendix 1), NIH will no longer prioritize research and research training programs
that focus on Diversity, Equity and Inclusion (DEI). Terminations that result from science that no
longer effectuates NIH’s priorities must follow the appeals guidance below. All other terminations
for noncompliance require, always, appeal language.

Prior to issuing all awards (competing and non-competing) or approving requests for carryover, ICs
must review the speciﬁc aims assess whether the proposed project contains any DEI research
activities or DEI language that give the perception that NIH funds can be used to support these
activities. To avoid issuing awards, in error, that support DEI activities ICs must take care to
completely excise all DEI activities using the following categories.

       Category 1: The sole purpose of the project is DEI related (e.g., diversity supplements or
       conference grant where the purpose of the meeting is diversity), and/or the application was
       received in response to a NOFO that was unpublished as outlined above.

           o   Action: ICs must not issue the award.

       Category 2: Project partially supports DEI activities (i.e., the project may still be viable if
       those aims or activities are negotiated out, without signiﬁcant changes from the original
       peer-reviewed scope) this means DEI activities are ancillary to the purpose of the project. In
       some cases, not readily visible. This category requires a scientiﬁc assessment and requires
       the GM to use the DEI Restriction Term of Award in Section IV of the Notice of Award, no
       exceptions will be allowed without a deviation from the Office of Policy for Extramural
       Research Administration (OPERA)/Office of Extramural Research (OER).

           o   Action 1: Funding IC must negotiate with the applicant/recipient to address the
               activities that are non-compliant, along with the associated funds that support
               those activities, obtain revised aims and budgets, and document the changes in the
               grant ﬁle.
           o   Action 2: Once the IC and the applicant/recipient have reached an agreement, issue
               the award and include the DEI Term and Condition of Award in Section IV of the
               Notice of Award. Hard funds restrictions are not required.
                    Note: If the IC and the applicant/recipient cannot reach an agreement, or
                        the project is no longer viable without the DEI related activities, the IC
                        cannot proceed with the award. For ongoing projects, the IC must work with
                        OPERA to negotiate a bilateral termination of the project. Where bilateral
                        termination cannot be reached, the IC must unilaterally terminate the
                        project. Terminated awards (bilaterally or unilaterally) should follow the
                        process identiﬁed in Appendix 2.
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Category 3: Project does not support DEI activities, but may contain language related to
DEI (e.g., statement regarding institutional commitment to diversity in the ‘Facilities & Other
Resources’ attachment and terminology related to structural racism—this is not all-
inclusive).

   o   Action 1: Funding IC must request an updated application/RPPR with the DEI
       language removed.
   o   Action 2: Once the language has been removed, the IC may proceed with issuing the
       award.

Category 4: Project does not support any DEI activities
   o Action: IC may proceed with issuing the award.
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         DEPARTMENT OF HEALTH & HUMAN SERVICES                                        Office of the Secretary
                                                                                     Washington, D.C. 20201


               SECRETARIAL DIRECTIVE ON DEi-RELATED FUNDING

                                         February 10, 2025


The Department of Health and Human Services has an obligation to ensure that taxpayer dollars
are used to advance the best interests of the government. This includes avoiding the expenditure
of federal funds on programs, or with contractors or vendors, that promote or take part in diversity,
equity, and inclusion ("DEi") initiatives or any other initiatives that discriminate on the basis of
race, color, religion, sex, national origin, or another protected characteristic. Contracts and grants
that support DEi and similar discriminatory programs can violate Federal civil rights law and are
inconsistent with the Department's policy of improving the health and well-being of all
Americans.

These contracts and grants can cause serious programmatic failures and yet it is currently
impossible to access sufficient information from a centralized source within the Department of
Health and Human Services to assess them. Specifically, there is no one method to determine
whether payments the agency is making to contractors, vendors, and grantees for functions related
to DEi and similar programs are contributing to the serious problems and acute harms DEi
initiatives may pose to the Department's compliance with federal civil rights law as well as the
Department's policy of improving the health and well-being of all Americans. It is also currently
impossible to assess whether payments the Department is making are free from fraud, abuse, and
duplication, as well as to assess whether current contractual arrangements, vendor agreements, and
grant awards related to these functions are in the best interests of the United States. See FAR
12.403(b), 49.101; 45 C.F.R. § 75.371-372. Finally, it is also impossible to determine with current
systems whether current contracts and grant awards are tailored to ameliorate these specific
problems and the broader problem of DEi and similar programs rather than exacerbate them. The
Department has an obligation to ensure that no taxpayer dollars are lost to abuse or expended on
anything other than advancing the best interests of the nation.

For these reasons, pursuant to, among other authorities, FAR 12.403(b) and 49.101 and 45 C.F.R.
§ 75.371- 372, the Secretary of Health and Human Services hereby DIRECTS as follows:

       Agency personnel shall briefly pause all payments made to contractors, vendors, and
       grantees related to DEi and similar programs for internal review for payment
       integrity. Such review shall include but not be limited to a review for fraud, waste,
       abuse, and a review of the overall contracts and grants to determine whether those
       contracts or grants are in the best interest of the government and consistent with
       current policy priorities. In addition, if ~fter review the Department has determined
       that a contract is inconsistent with Department priorities and no longer in the interest
       of the government, such contracts may be terminated pursuant to the Department's
       authority to terminate for convenience contracts that are not "in the best interests of
       the Government," see FAR 49.lOl(b); 12.403(b). Furthermore, grants may be ,
       terminated in accordance with federal law.

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This Directive shall be implemented through the Department's contracts and payment
management systems by personnel with responsibility for such systems who shall, in doing so,
comply with all notice and procedural requirements in each affected award, agreement, or other
instrument. Whenever a DEi or similar contract or grant is paused for review, Department
personnel shall immediately send such payment to Scott Rowell, Deputy Chief of Staff for
Operations, for prompt review to determine whether or not the payment is appropriate and should
be made. Payments on paused contracts shall remain paused and already terminated contracts
shall remain terminated pending completion of that review to the maximum extent permitted by
law and all applicable notice and procedural requirements in the affected award, agreement, or
other instrument.

I thank you for your attention to this matter, as well as your efforts to ensure that no taxpayer
dollars are misspent.




                                ~ M.D., Acting Secretary




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Appendix 2 – Guidance for staﬀ to use when terminating awards identiﬁed by HHS or the IC.

   •   Issue a revised NOA.

           o   Change the budget and project period end dates to match the date of the termination
               letter.

           o   Check PMS, determine amount of funds remaining, and deobligate the amount reﬂected
               in PMS when revising the NOA. Note: This applies to Multi-Year Funded Awards, as well.
               Work with FFR-C if you have questions regarding deobligating funds to avoid placing the
               recipient in debt collection.

           o   Remove all future years from the project, where applicable. If the grant is in a no cost
               extension, and the HHS requests a termination, the project must be terminated

           o   Use the following termination term: This award related to [select the appropriate
               example relevant to your project by choosing one of the highlighted examples DEI,
               China, or Transgender issues] no longer eﬀectuates agency priorities. It is the policy of
               NIH not to further prioritize these research programs. Therefore, the award is
               terminated. [Refer to Appendix 3 for language provided to NIH by HHS.] Please be
               advised that your organization, as part of the orderly closeout process will need to
               submit the necessary closeout documents (i.e., Final Research Performance Progress
               Report, Final Invention Statement, and the Final Federal Financial Report (FFR)) within
               120 days of the end of this grant to avoid unilateral closeout.

           o   Insert restriction language that allows for the recipients to use a portion of funds to
               support the health and safety of patients and orderly closeout of the project.




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                   


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                       Sample language for use: “Funds in the amount of $xxxxxxx [insert $ amount
                       total cost] may be used to support patient safety and orderly closeout of the
                       project. Funds used to support any other research activities will be disallowed
                       and recovered.”

       Appeals language must be used (prior to October 1, 2025):
          o NIH is taking this enforcement action in accordance with 2 C.F.R. § 200.340 as
              implemented in NIH GPS Section 8.5.2. This letter represents the ﬁnal decision of the
              NIH. It shall be the ﬁnal decision of the Department of Health and Human Services (HHS)
              unless within 30 days after receiving this decision you mail or email a written notice of
              appeal to Dr. Matthew Memoli.

               Please include a copy of this decision, your appeal justiﬁcation, total amount in dispute,
               and any material or documentation that will support your position. Finally, the appeal
               must be signed by the institutional oﬃcial authorized to sign award applications and
               must be postmarked no later than 30 days after the postmarked date of this notice.

   •   Termination actions taken based on agency priorities do not require appeals language because
       the action was not based on administrative nor programmatic noncompliance
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Appendix 3 – Language provided to NIH by HHS providing examples for research activities that NIH no
longer supports.

    •   China: Bolstering Chinese universities does not enhance the American people’s quality of life or
        improve America’s position in the world. On the contrary, funding research in China contravenes
        American national-security interests and hinders America’s foreign-policy objectives.

    •   DEI: Research programs based primarily on artiﬁcial and non-scientiﬁc categories, including
        amorphous equity objectives, are antithetical to the scientiﬁc inquiry, do nothing to expand our
        knowledge of living systems, provide low returns on investment, and ultimately do not enhance
        health, lengthen life, or reduce illness. Worse, so-called diversity, equity, and inclusion (“DEI”)
        studies are often used to support unlawful discrimination on the basis of race and other
        protected characteristics, which harms the health of Americans. Therefore, it is the policy of NIH
        not to prioritize such research programs.

    •   Transgender issues: Research programs based on gender identity are often unscientiﬁc, have
        little identiﬁable return on investment, and do nothing to enhance the health of many
        Americans. Many such studies ignore, rather than seriously examine, biological realities. It is
        the policy of NIH not to prioritize these research programs.



Appendix 4 – Approved Term – Use for all Category 2 awards, i.e., renegotiated aims and associated
budgets. Approval embedded below. ICs should use this term in the IC speciﬁc award conditions

Term and Condition of Award

NIH and the recipient have renegotiated the scope of this award. Pursuant to the revised scope, NIH
funds may only be used to support activities within the revised scope of the award. NIH funds may not
be used to support activities that are outside the revised scope of the award, including Diversity Equity
and Inclusion (DEI) research or DEI-related research training activities or programs. Any funds used to
support activities outside the scope will result in a disallowance of costs, and funds will be recovered.

This term is consistent with NIH’s ongoing internal review of NIH’s priorities and the alignment of awards
with those priorities as well as a review of program integrity of awards. Such review includes, but is not
limited to, a review for fraud, waste and abuse, and a review of the NIH portfolio to determine whether
awards are in the best interests of the government and consistent with policy priorities. If recipients are
unclear on whether a speciﬁc activity constitutes DEI or has questions regarding other activities that
could be considered outside the scope of the award, refrain from drawing down funds and consult with
the funding IC, particularly where the activity may impact the speciﬁc aims, goals, and objectives of the
project.

Approval email from Dr. Memoli (Acting Director, NIH) on Friday, February 28, 2025.
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From:            Memoli, Matthew (NIH/OD) [E]
To:              Bundesen, Liza (NIH/OD) [E]
Cc:              Bulls, Michelle G. (NIH/OD) [E]; Lankford, David (NIH/OD) [E]; Butler, Benjamin (NIH/OD) [E]; Jacobs, Anna
                 (NIH/OD) [E]; Burklow, John (NIH/OD) [E]
Subject:         Re: Clean Version of DEI Restriction Term - Final
Date:            Friday, February 28, 2025 2:54:19 PM


approved

Matt

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From: Bundesen, Liza (NIH/OD) [E] <lbundese@mail.nih.gov>
Sent: Friday, February 28, 2025 2:53:21 PM
To: Memoli, Matthew (NIH/OD) [E] <matthew.memoli@nih.gov>
Cc: Bulls, Michelle G. (NIH/OD) [E] <michelle.bulls@nih.gov>; Lankford, David (NIH/OD) [E]
<lankford@od31tm1.od.nih.gov>; Butler, Benjamin (NIH/OD) [E] <butlerben@mail.nih.gov>; Jacobs,
Anna (NIH/OD) [E] <anna.jacobs2@nih.gov>; Burklow, John (NIH/OD) [E] <burklowj@od.nih.gov>
Subject: Clean Version of DEI Restriction Term - Final

Hi Matt,

Attached is the term and condition of award for your approval. Please let us know if you approve and
we will implement.

Thank you,
Liza
